









	








IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-61,160-04






HOWARD E. KIM, Relator


v.


228TH DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. 836119-B


FROM HARRIS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus in the 228th District
Court of Harris County, that more than 35 days have elapsed, and that the application has not yet been
forwarded to this Court.  Relator contends that the district court entered an order designating issues on
March 20, 2007.

	In these circumstances, additional facts are needed.  The respondent, the judge of the 228th District
Court of Harris County, is ordered to file a response with this Court by having the District Clerk submit
the record on such habeas corpus application or by setting out the reasons that no findings have been made
since the order designating issues was entered.  This application for leave to file a writ of mandamus will
be held in abeyance until the respondent has submitted the appropriate response.  Such response shall be
submitted within 30 days of the date of this order.


Filed: January 16, 2008

Do not publish	


